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   5
     Attorneys for Plaintiff KORNIT DIGITAL LTD
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   7
   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10
  11 KORNIT DIGITAL LTD,                   )     CASE NO.: SACV09-0689 AG ( MLGx)
                                           )
  12                            Plaintiff, )     [Assigned to Hon. Andrew J. Guilford]
                                           )
  13        vs.                            )
                                           )     ORDER ON JOINT STIPULATION
  14   ALL AMERICAN                        )     DISMISSING WITH PREJUDICE
       MANUFACTURING & SUPPLY              )     ALL PARTIES
  15   COMPANY; et al.                     )
                                           )
  16                         Defendant. )
       _____________________________ )
  17                                       )
       ALL AMERICAN                        )
  18   MANUFACTURING & SUPPLY              )
       COMPANY,                            )
  19                                       )
                       Counterclaimant, )
  20                                       )
            vs.                            )
  21                                       )
       KORNIT DIGITAL LTD.,                )
  22                                       )
                       Counterdefendant )
  23                                       )
       _____________________________ )
  24
  25        The parties having entered into, agreed upon, and submitted a Joint Stipulation
  26 Dismissing With Prejudice All Parties,
  27 ///
  28 ///
                                                1

                                              ORDER                  SACV 09-0689 AG (MLGx)
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   1         IT IS HEREBY ORDERED that the present case be dismissed with prejudice
   2 and all parties to bear their own costs and fees.
   3
   4 DATED: June 29, 2011
   5
   6
   7                                                  _______________________________
                                                      ANDREW J. GUILFORD
   8                                                  JUDGE OF THE UNITED STATES
                                                       DISTRICT COURT
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                                              ORDER                 SACV 09-0689 AG (MLGx)
